                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       NO. 3:10-00258
                                                      )       JUDGE CAMPBELL
VINCENTE ARELLANO GARCIA                              )


                                              ORDER

       The Court has received a letter from Defendant Vincente Arellano Garcia dated January 30,

2014. The Clerk is directed to file the letter. Counsel for Defendant shall have the letter translated

and filed with the Court.

       It is so ORDERED.



                                                      _________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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